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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

     MARC J. RITORTO, HILTON HEE       )
     CHONG, PAUL J. BURROUGHS and      )
     RICHARD O’DRISCOLL, individually and
                                       )                 CIVIL ACTION NO.:
     on behalf of all others similarly situated,
                                       )
                                       )
                           Plaintiffs, )
                 v.                    )
                                       )
     KPMG, LLP, THE BOARD OF           )
     DIRECTORS OF KPMG, LLP, THE KPMG )
     PENSION STRATEGY AND              )
     INVESTMENT COMMITTEE and JOHN )
     DOES 1-30.                        )
                                       )
                           Defendants. )

                                            COMPLAINT

         Plaintiffs, Marc J. Ritorto, Hilton Hee Chong, Paul J. Burroughs and Richard O’Driscoll

(“Plaintiffs”), by and through their attorneys, on behalf of the KPMG 401(k) Plan (the “Plan”),1

themselves and all others similarly situated, state and allege as follows:

                                    I.      INTRODUCTION

         1.      This is a class action brought pursuant to §§ 409 and 502 of the Employee

Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. §§ 1109 and 1132, against the

Plans’ fiduciaries, which include KPMG, LLP (“KPMG” or “Company”) and the Board of

Directors of KPMG, LLP and its members during the Class Period2 (“Board”) and the KPMG

Pension Strategy and Investment Committee and its members during the Class Period

(“Committee”) for breaches of their fiduciary duties.


1
    The Plan is a legal entity that can sue and be sued. ERISA § 502(d)(1), 29 U.S.C. § 1132(d)(1).
    However, in a breach of fiduciary duty action such as this, the Plan is not a party. Rather,
    pursuant to ERISA § 409, and the law interpreting it, the relief requested in this action is for the
    benefit of the Plan and its participants.
2
    The Class Period, as will be discussed in more detail below, is defined as October 26, 2015
    through the date of judgment.
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       2.      To safeguard Plan participants and beneficiaries, ERISA imposes strict fiduciary

duties of loyalty and prudence upon employers and other plan fiduciaries. Fiduciaries must act

“solely in the interest of the participants and beneficiaries,” 29 U.S.C. § 1104(a)(1)(A), with the

“care, skill, prudence, and diligence” that would be expected in managing a plan of similar scope.

29 U.S.C. § 1104(a)(1)(B). These twin fiduciary duties are “the highest known to the law.” Sweda

v. Univ. of Pennsylvania, 923 F.3d 320, 333 (3d Cir. 2019).

       3.      The Department of Labor has explicitly stated that employers are held to a “high

standard of care and diligence” and must, among other duties, both “establish a prudent process

for selecting investment options and service providers” and “monitor investment options and

service providers once selected to see that they continue to be appropriate choices.” See, “A Look

at 401(k) Plan Fees,” infra, at n.3; see also Tibble v. Edison Int’l, 135 S. Ct. 1823, 1823 (2015)

(Tibble I) (reaffirming the ongoing fiduciary duty to monitor a plan’s investment options).

       4.      Under 29 U.S.C. § 1104(a)(1), a plan fiduciary must give substantial consideration

to the cost of investment options. “Wasting beneficiaries’ money is imprudent. In devising and

implementing strategies for the investment and management of trust assets, trustees are obligated

to minimize costs.” Uniform Prudent Investor Act (the “UPIA”), § 7.

       5.      “The Restatement … instructs that ‘cost-conscious management is fundamental to

prudence in the investment function,’ and should be applied ‘not only in making investments but

also in monitoring and reviewing investments.’” Tibble v. Edison Int’l, 843 F.3d 1187, 1197-98

(9th Cir. 2016) (en banc) (quoting Restatement (Third) of Trusts, § 90, cmt. b) (“Tibble II”).3




3
  See also U.S. Dep’t of Labor, A Look at 401(k) Plan Fees, (Aug. 2013), at 2, available at
https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-
center/publications/a-look-at-401k-plan-fees.pdf (last visited February 21, 2020) (“You should be
aware that your employer also has a specific obligation to consider the fees and expenses paid by
your plan.”).
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       6.      Additional fees of only 0.18% or 0.4% can have a large effect on a participant’s

investment results over time because “[b]eneficiaries subject to higher fees … lose not only money

spent on higher fees, but also lost investment opportunity; that is, the money that the portion of

their investment spent on unnecessary fees would have earned over time.” Tibble II, 843 F.3d at

1198 (“It is beyond dispute that the higher the fees charged to a beneficiary, the more the

beneficiary’s investment shrinks.”).

       7.       Most participants in defined contribution plans like 401(k) or 403(b) plans expect

that their accounts will be their principal source of income after retirement. Although at all times

plan accounts are fully funded, that does not prevent plan participants from losing money on poor

investment choices by plan sponsors and fiduciaries, whether due to poor performance, high fees

or both.

       8.      Prudent and impartial plan sponsors thus should be monitoring both the

performance and cost of the investments selected for their retirement plans, as well as investigating

alternatives in the marketplace to ensure that well-performing, low cost investment options are

being made available to plan participants.

       9.      At all times during the Class Period, the Plan had at least $3.5 billion dollars in

assets under management. At the end of 2019 and 2018, the Plan had over $6 billion dollars and

$4.7 billion dollars, respectively, in assets under management that were/are entrusted to the care

of the Plan’s fiduciaries. The December 31, 2019 Report of Independent Auditor of the KPMG

401(k) Plan (“2019 Auditor Report”) at 4.

       10.     The Plan’s assets under management qualifies it as a jumbo plan in the defined

contribution plan marketplace, and among the largest plans in the United States. As a jumbo plan,

the Plan had substantial bargaining power regarding the fees and expenses that were charged

against participants’ investments. Defendants, however, did not try to reduce the Plan’s expenses



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or exercise appropriate judgment to scrutinize each investment option that was offered in the Plan

to ensure it was prudent.

       11.     Plaintiffs allege that during the putative Class Period Defendants, as “fiduciaries”

of the Plan, as that term is defined under ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), breached

the duties they owed to the Plan, to Plaintiffs, and to the other participants of the Plan by, inter

alia, (1) failing to objectively and adequately review the Plan’s investment portfolio with due care

to ensure that each investment option was prudent, in terms of cost; and (2) maintaining certain

funds in the Plan despite the availability of identical or similar investment options with lower costs

and/or better performance histories; and (3) failing to control the Plan’s recordkeeping costs.

       12.      Defendants failed to utilize the lowest cost share class for many of the mutual funds

within the Plan despite their lower fees.

       13.     Because “the institutional share classes are otherwise identical to the Investor share

classes, but with lower fees, a prudent fiduciary would know immediately that a switch is

necessary. Thus, the ‘manner that is reasonable and appropriate to the particular investment action,

and strategies involved…in this case would mandate a prudent fiduciary – who indisputably has

knowledge of institutional share classes and that such share classes provide identical investments

at lower costs – to switch share classes immediately.” Tibble, et al. v. Edison Int. et al., No. 07-

5359, 2017 WL 3523737, at * 13 (C.D. Cal. Aug. 16, 2017).

       14.      Defendants’ mismanagement of the Plan, to the detriment of participants and

beneficiaries, constitutes a breach of the fiduciary duties of prudence and loyalty, in violation of

29 U.S.C. § 1104. Their actions were contrary to actions of a reasonable fiduciary and cost the

Plan and its participants millions of dollars.

       15.     Based on this conduct, Plaintiffs assert claims against Defendants for breach of the

fiduciary duty of prudence (Count One) and failure to monitor fiduciaries (Count Two).



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                               IV. JURISDICTION AND VENUE
       16.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 because it is a civil action arising under the laws of the United States, and pursuant to 29

U.S.C. § 1332(e)(1), which provides for federal jurisdiction of actions brought under Title I of

ERISA, 29 U.S.C. § 1001, et seq.

       17.     This Court has personal jurisdiction over Defendants because they transact business

in this District, reside in this District, and/or have significant contacts with this District, and

because ERISA provides for nationwide service of process.

       18.     Venue is proper in this District pursuant to ERISA § 502(e)(2), 29 U.S.C.

§ 1132(e)(2), because some or all of the violations of ERISA occurred in this District and

Defendants reside and may be found in this District. Venue is also proper in this District pursuant

to 28 U.S.C. § 1391 because Defendants do business in this District and a substantial part of the

events or omissions giving rise to the claims asserted herein occurred within this District.

                                             V. PARTIES


       Plaintiffs

       19.      Plaintiff, Marc J. Ritorto (“Ritorto”), resides in Paramus, New Jersey. During his

employment, Plaintiff Ritorto participated in the Plan investing in the options offered by the Plan

and which are the subject of this lawsuit.

       20.     Plaintiff, Hilton Hee Chong (“Chong”), resides in Newport News, Virginia. During

his employment, Plaintiff Chong participated in the Plan investing in the options offered by the

Plan and which are the subject of this lawsuit.

       21.      Plaintiff, Paul J. Burroughs (“Burroughs”), resides in Bloomfield, New Jersey.

During his employment, Plaintiff Burroughs participated in the Plan investing in the options

offered by the Plan and which are the subject of this lawsuit.


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         22.    Plaintiff, Richard O’Driscoll (“O’Driscoll”), resides in Atlanta, Georgia. During

his employment, Plaintiff O’Driscoll participated in the Plan investing in the options offered by

the Plan and which are the subject of this lawsuit.

         23.    Each Plaintiff has standing to bring this action on behalf of the Plan because each

of them participated in the Plan and were injured by Defendants’ unlawful conduct. Plaintiffs are

entitled to receive benefits in the amount of the difference between the value of their accounts

currently, or as of the time their accounts were distributed, and what their accounts are or would

have been worth, but for Defendants’ breaches of fiduciary duty as described herein.

         24.    Plaintiffs did not have knowledge of all material facts (including, among other

things, the investment alternatives that are comparable to the investments offered within the Plan,

comparisons of the costs and investment performance of Plan investments versus available

alternatives within similarly-sized plans, total cost comparisons to similarly-sized plans,

information regarding other available share classes) necessary to understand that Defendants

breached their fiduciary duties and engaged in other unlawful conduct in violation of ERISA until

shortly before this suit was filed.

          Defendants

               Company Defendant

         25.    KPMG is the Plan sponsor and a named fiduciary with a principal place of business

being 3 Chestnut Ridge Road, Montvale, New Jersey. The December 31, 2019 Form 5500 of the

KPMG 401(k) Plan filed with the United States Department of Labor (“2019 Form 5500”) at 1.

KPMG operates in “146 countries and territories, and in FY20, collectively employed close to

227,000 people, serving the needs of business, governments, public-sector agencies, not-for-

profits and through KPMG firms' audit and assurance practices, the capital markets.”4



4
    https://home.kpmg/xx/en/home/about/who-we-are.html last accessed on October 15, 2021.
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       26.     KPMG appointed the Committee to, among other things, ensure that the

investments available to Plan participants are appropriate, had no more expense than reasonable

and performed well as compared to their peers. The Investment Policy Statement for the KPMG

401(k) Plan as amended and restated effective as of December 7, 2018 (“IPS”) at 3. As will be

discussed below, the Committee fell well short of these fiduciary goals. Under ERISA, fiduciaries

with the power to appoint have the concomitant fiduciary duty to monitor and supervise their

appointees.

       27.     Accordingly, KPMG during the putative Class Period is/was a fiduciary of the Plan,

within the meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A) because it had a duty to

monitor the actions of the Committee.

       28.     For the foregoing reasons, the Company is a fiduciary of the Plan, within the

meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A).

       Board Defendants

       29.     KPMG, acting through its Board of Directors, appointed the Committee to, among

other things, ensure that the investments available to Plan participants were appropriate, had no

more expense than reasonable and performed well as compared to their peers. IPS at 3. Under

ERISA, fiduciaries with the power to appoint have the concomitant fiduciary duty to monitor and

supervise their appointees.

       30.     Accordingly, each member of the Board during the putative Class Period (referred

to herein as John Does 1-10) is/was a fiduciary of the Plan, within the meaning of ERISA Section

3(21)(A), 29 U.S.C. § 1002(21)(A) because each had a duty to monitor the actions of the

Committee.

       31.     The Board and the unnamed members of the Board during the Class Period

(referred to herein as John Does 1-10), are collectively referred to herein as the “Board

Defendants.”
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       Committee Defendants

       32.     A discussed above, KPMG and the Board appointed the Committee to, among other

things, ensure that the investments available to Plan participants were appropriate, had no more

expense than reasonable and performed well as compared to their peers. IPS at 3.

       33.      The Plan’s Investment Policy Statement details the responsibilities of the

Committee. Pursuant to the IPS, the Committee is responsible for “[s]electing investment

options/managers for the investments of the Plan assets … .” IPS at 3. The Committee’s

responsibilities further include, “[a]t least each calendar quarter, evaluating the Plan’s investment

performance and implementing investment option and investment manager changes.” Id.

Additional responsibilities of the Committee include “[d]eveloping and maintaining an appropriate

investment structure.” Id. Further, the Committee is responsible for “[m]onitoring the performance

of all investment managers, advisors, consultants, trustees, actuaries, record keepers, counsel and

such other third party advisors or service providers and recommending appropriate changes … .”

Id. As will be discussed in detail below, the Committee fell well short of these fiduciary goals.

       34.     The Committee and each of its members were fiduciaries of the Plan during the

Class Period, within the meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A) because

each exercised discretionary authority over management or disposition of Plan assets.

       35.     The Committee and unnamed members of the Committee during the Class Period

(referred to herein as John Does 11-20), are collectively referred to herein as the “Committee

Defendants.”

       Additional John Doe Defendants

       36.     To the extent that there are additional officers, employees and/or contractors of

KPMG who are/were fiduciaries of the Plan during the Class Period, or were hired as an investment

manager for the Plan during the Class Period, the identities of whom are currently unknown to

Plaintiffs, Plaintiffs reserve the right, once their identities are ascertained, to seek leave to join
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them to the instant action. Thus, without limitation, unknown “John Doe” Defendants 21-30

include, but are not limited to, KPMG officers, employees and/or contractors who are/were

fiduciaries of the Plan within the meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A)

during the Class Period.

                               VI. CLASS ACTION ALLEGATIONS

       37.     Plaintiffs bring this action as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure on behalf of themselves and the following proposed class (“Class”):5

               All persons, except Defendants and their immediate family
               members, who were participants in or beneficiaries of the
               Plan, at any time between October 26, 2015 through the date
               of judgment (the “Class Period”).

       38.     The members of the Class are so numerous that joinder of all members is

impractical. The 2019 Form 5500 lists 44,640 Plan “participants with account balances as of the

end of the plan year.” 2019 Form 5500 at 2.

       39.     Plaintiffs’ claims are typical of the claims of the members of the Class. Like other

Class members, Plaintiffs participated in the Plan and have suffered injuries as a result of

Defendants’ mismanagement of the Plan. Defendants treated Plaintiffs consistently with other

Class members and managed the Plan as a single entity. Plaintiffs’ claims and the claims of all

Class members arise out of the same conduct, policies, and practices of Defendants as alleged

herein, and all members of the Class have been similarly affected by Defendants’ wrongful

conduct.

       40.     There are questions of law and fact common to the Class, and these questions

predominate over questions affecting only individual Class members. Common legal and factual

questions include, but are not limited to:



5
  Plaintiffs reserve the right to propose other or additional classes or subclasses in their motion for
class certification or subsequent pleadings in this action.
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                A.       Whether Defendants are/were fiduciaries of the Plan;

                B.       Whether Defendants breached their fiduciary duties of loyalty and

                         prudence by engaging in the conduct described herein;

                C.       Whether the Company and Board Defendants failed to adequately monitor

                         the Committee and other fiduciaries to ensure the Plan was being managed

                         in compliance with ERISA;

                D.       The proper form of equitable and injunctive relief; and

                E.       The proper measure of monetary relief.

        41.     Plaintiffs will fairly and adequately represent the Class and have retained counsel

experienced and competent in the prosecution of ERISA class action litigation. Plaintiffs have no

interests antagonistic to those of other members of the Class. Plaintiffs are committed to the

vigorous prosecution of this action and anticipate no difficulty in the management of this litigation

as a class action.

        42.     This action may be properly certified under Rule 23(b)(1). Class action status in

this action is warranted under Rule 23(b)(1)(A) because prosecution of separate actions by the

members of the Class would create a risk of establishing incompatible standards of conduct for

Defendants. Class action status is also warranted under Rule 23(b)(1)(B) because prosecution of

separate actions by the members of the Class would create a risk of adjudications with respect to

individual members of the Class that, as a practical matter, would be dispositive of the interests of

other members not parties to this action, or that would substantially impair or impede their ability

to protect their interests.

        43.     In the alternative, certification under Rule 23(b)(2) is warranted because the

Defendants have acted or refused to act on grounds generally applicable to the Class, thereby

making appropriate final injunctive, declaratory, or other appropriate equitable relief with respect

to the Class as a whole.
                                                  10
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                                         VII.    THE PLAN

       44.       KPMG established the Plan “to provide eligible employees and partners with the

long-term accumulation of retirement savings through a combination of participant and company

matching contributions to individual participant accounts, and the earnings therefrom.” IPS at 1.

As will be discussed below, the Plan has been hindered in fulfilling its purpose by the fiduciary

breaches of the Defendants.

       45.       The Plan is a “defined contribution” or “individual account” plan within the

meaning of ERISA § 3(34), 29 U.S.C. § 1002(34), in that the Plan provides for individual accounts

for each participant and for benefits based solely upon the amount contributed to those accounts,

and any income, expense, gains and losses, and any forfeitures of accounts of the participants

which may be allocated to such participant’s account. The KPMG 401(k) Plan as amended and

restated effective as of January 1, 2020 (“Plan Doc.”) at 18. Consequently, retirement benefits

provided by the Plan are based solely on the amounts allocated to each individual’s account. Id.

       Eligibility

       46.       In general, “[a]n employee, principal or partner of the Firm shall generally become

a participant in the Plan on the 60th day following the date such employee or partner is first credited

with an hour of service, provided he/she qualifies as an employee or partner as of such 60th day.”

The December 31, 2019 Report of Independent Auditor of the KPMG 401(k) Plan (“2019 Auditor

Report”) at 5.

       Contributions

       47.       There are several types of contributions that can be added to a participant’s account,

including: an employee salary deferral contribution, an employee Roth 401(k) contribution, an

employee after-tax contribution, catch-up contributions for employees aged 50 and over, rollover

contributions, discretionary profit sharing contributions and employer matching contributions

based on employee pre-tax, Roth 401(k), and employee after-tax contributions. Id.
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       48.     With regard to employee contributions: “[p]articipants may contribute from 1% to

50% of his/her compensation from his/her regular salary or wages each pay period … .” Id. With

regard to matching contributions made by KPMG: “[f]or 2019 and 2018, the employer match

contribution was 50% of the elective contributions made by the participant to the extent such

contributions do not exceed 5% of the portion of such participant’s compensation.” Id.

       49.     Like other companies that sponsor 401(k) plans for their employees, KPMG enjoys

both direct and indirect benefits by providing matching contributions to Plan participants.

Employers are generally permitted to take tax deductions for their contributions to 401(k) plans at

the time when the contributions are made. See generally, https:/www.irs.gov/retirement-

plans/plan-sponsor/401k-plan-overview.

       50.     KPMG also benefits in other ways from the Plan’s matching program. It is well-

known that “[o]ffering retirement plans can help in employers’ efforts to attract new employees

and reduce turnover.” See, https://www.paychex.com/articles/employee-benefits/employer-

matching-401k-benefits.

       51.     Given the size of the Plan, KPMG likely enjoyed a significant tax and cost savings

from offering a match.

       Vesting

       52.     With regard to contributions made by participants to the Plan: “[p]articipants are

immediately vested in their contributions (including rollovers) plus actual earnings thereon.” 2019

Auditor Report at 6. Matching contributions made by KPMG are subject to a 5 year vesting

schedule based on years of continuous service. Id.

       The Plan’s Investments

       53.     In theory, the Committee determines the appropriateness of the Plan’s investment

offerings and monitors investment performance. IPS at 3. As will be discussed in more detail

below, the Committee fell well short of these fiduciary goals.
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         54.      Several funds were available to Plan participants for investment each year during

the putative Class Period. Specifically, a participant may direct all contributions to selected

investments as made available and determined by the Committee.

         55.      The Plan’s assets under management for all funds as of December 31, 2019 was

$6,050,083,000. 2019 Auditor Report at 4.

         Payment of Plan Expenses

         56.      During the Class Period, administrative expenses were generally paid using Plan

assets. 2019 Auditor Report at 7.

 VIII. THE PLAN’S FEES DURING THE CLASS PERIOD WERE UNREASONABLE

               A. The Totality of the Circumstances Demonstrates that the Plan Fiduciaries
                  Failed to Administer the Plan in a Prudent Manner

         57.      As described in the “Parties” section above, Defendants were fiduciaries of the

Plan.

         58.      ERISA “imposes a ‘prudent person’ standard by which to measure fiduciaries’

investment decisions and disposition of assets.” Fifth Third Bancorp v. Dudenhoeffer, 134 S. Ct.

2459, 2467 (2014) (quotation omitted). In addition to a duty to select prudent investments, under

ERISA, a fiduciary “has a continuing duty to monitor [plan] investments and remove imprudent

ones” that exists “separate and apart from the [fiduciary’s] duty to exercise prudence in selecting

investments.” Tibble I, 135 S. Ct. at 1828.

         59.      Plaintiffs did not have and do not have actual knowledge of the specifics of

Defendants’ decision-making process with respect to the Plan, including Defendants’ processes

(and execution of such) for selecting, monitoring, and removing Plan investments or monitoring

recordkeeping and administration costs, because this information is solely within the possession

of Defendants prior to discovery. See Braden v. Wal-mart Stores, Inc., 588 F.3d 585, 598 (8th Cir.

2009) (“If Plaintiffs cannot state a claim without pleading facts which tend systematically to be in

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the sole possession of defendants, the remedial scheme of [ERISA] will fail, and the crucial rights

secured by ERISA will suffer.”) In fact, in an attempt to discover the details of the Plans’

mismanagement, on August 23, 2021, the Plaintiffs wrote to KPMG requesting, inter alia, meeting

minutes from the Committee. By Letter dated September 27, 2021, KPMG denied Plaintiffs’

request for these meeting minutes.

       60.     For purposes of this Complaint, Plaintiffs have drawn reasonable inferences

regarding these processes based upon the numerous factors set forth below.

       61.     Defendants’ breaches of their fiduciary duties, relating to their overall decision-

making, resulted in inter alia, (1) the selection (and maintenance) of several funds in the Plan

throughout the Class Period, including those identified below, and (2) payment of excessive

recordkeeping and administration fees, that wasted the assets of the Plan and the assets of

participants because of unnecessary costs.


       (1) The Plan’s Total Plan Costs Were More Than Double That of Its Peers

       62.     “In order to better understand the impact of fees,” BrightScope, a leading plan

retirement industry analyst, The Investment Company Institute (“ICI”) “developed a total plan cost

measure that includes all fees on the audited Form 5500 reports as well as fees paid through

investment expense ratios.” 6

       63.     Costs are of course important because “[t]he lower your costs, the greater your

share of an investment’s return.” Vanguard’s Principles for Investing Success, at 17.7




6
  See BrightScope/ICI Defined Contribution Plan Profile: A Close Look at 401(k) Plans, 2017 at
55       (August        2020)      (hereafter,     “ICI       Study”)       available       at
https://www.ici.org/pdf/20_ppr_dcplan_profile_401k.pdf
7
 Available at https://about.vanguard.com/what-sets-vanguard-apart/principles-for-investing-
success/
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          64.   The ICI conducted a study in 2017 (see fn. 6) which calculated the average total

plan costs from hundreds of 401(k) Plans ranging in size from the smallest plans having less than

1 million dollars in assets all the way up the nation’s largest plans with assets under management

of more than 1 billion dollars. Looking at plans that have over 1 billion dollars, the ICI determined

that the average total plan cost or TPC for 401(k) Plans with over 1 billion dollars in assets under

management is .22% of total plan assets.

          65.   Here, one indication that the Plan was poorly run is that it had a TPC of more than

.47%, or, in other words, more than 113% higher than the average.

          (2) The Plan’s Recordkeeping and Administrative Costs Were Excessive During The
              Class Period

          66.   Another indication of Defendants’ imprudent process was the excessive

recordkeeping and administrative fees Plan participants were required to pay during the Class

Period.

          67.   The term “recordkeeping” is a catchall term for the suite of administrative services

typically provided to a defined contribution plan by the plan’s “recordkeeper.” Recordkeeping

and administrative services fees are one and the same and the terms are used synonymously herein.

          68.   There are two types of essential recordkeeping services provided by all national

recordkeepers for large plans with substantial bargaining power (like the Plan). First, an overall

suite of recordkeeping services is provided to large plans as part of a “bundled” fee for a buffet

style level of service (meaning that the services are provided, in retirement industry parlance, on

an “all-you-can-eat” basis), including, but not limited to, the following services:




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               a. Recordkeeping;

               b. Transaction processing (which includes the technology to process purchases

                  and sales of participants’ assets, as well as providing the participants access to

                  investment options selected by the plan sponsor);

               c. Administrative services related to converting a plan from one recordkeeper to

                  another;

               d. Participant communications (including employee meetings, call centers/phone

                  support, voice response systems, web account access, and the preparation of

                  other materials distributed to participants, e.g., summary plan descriptions);

               e. Maintenance of an employer stock fund (if needed);

               f. Plan document services, which include updates to standard plan documents to

                  ensure compliance with new regulatory and legal requirements;

               g. Plan consulting services, including assistance in selecting the investment

                  lineup offered to participants;

               h. Accounting and audit services, including the preparation of annual reports,

                  e.g., Form 5500s8 (excluding the separate fee charged by an independent

                  third-party auditor);

               i. Compliance support, including assistance interpreting plan provisions and

                  ensuring the operation of the plan is in compliance with legal requirements

                  and the provisions of the plan (excluding separate legal services provided by a

                  third-party law firm); and

               j. Compliance testing to ensure the plan complies with U.S. Internal Revenue

                  Service nondiscrimination rules.

       69.     This suite of essential recordkeeping services can be referred to as “Bundled”

services. These services are offered by all recordkeepers for one price (typically at a per capita
                                                16
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price), regardless of the services chosen or utilized by the plan. The services chosen by a large

plan do not affect the amount charged by recordkeepers for such basic and fungible services.

       70.     The second type of essential recordkeeping services, hereafter referred to as “A La

Carte” services, provided by all national recordkeepers, often has separate, additional fees based

on the conduct of individual participants and the usage of the services by individual participants.

These fees are distinct from the bundled arrangement described above to ensure that one participant

is not forced to help another cover the cost of, for example, taking a loan from their plan account

balance. These A La Carte services typically include, but are not limited to, the following:

               k. Loan processing;

               l. Brokerage services/account maintenance (if offered by the plan);

               m. Distribution services; and

               n. Processing of qualified domestic relations orders.

       71.     All national recordkeepers have the capability to provide all of the aforementioned

recordkeeping services at very little cost to all large defined contribution plans, including those

much smaller than the Plan. In fact, several of the services, such as managed account services,

self-directed brokerage, Qualified Domestic Relations Order processing, and loan processing are

often a profit center for recordkeepers.

       72.     The cost of providing recordkeeping services often depends on the number of

participants in a plan. Plans with large numbers of participants can take advantage of economies

of scale by negotiating a lower per-participant recordkeeping fee.        Because recordkeeping

expenses are driven by the number of participants in a plan, the vast majority of plans are charged

on a per-participant basis.

       73.     Recordkeeping expenses can either be paid directly from plan assets, or indirectly

by the plan’s investments in a practice known as revenue sharing (or a combination of both or by

a plan sponsor). Revenue sharing payments are payments made by investments within the plan,
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typically mutual funds, to the plan’s recordkeeper or to the plan directly, to compensate for

recordkeeping and trustee services that the mutual fund company otherwise would have to provide.

        74.     Although utilizing a revenue sharing approach is not per se imprudent, unchecked,

it is devastating for Plan participants (e.g., see allegations infra). “At worst, revenue sharing is a

way to hide fees. Nobody sees the money change hands, and very few understand what the total

investment expense pays for. It’s a way to milk large sums of money out of large plans by charging

a percentage-based fee that never goes down (when plans are ignored or taken advantage of). In

some cases, employers and employees believe the plan is ‘free’ when it is in fact expensive.” Justin

Pritchard, “Revenue Sharing and Invisible Fees” available at http://www.cccandc.com/p/revenue-

sharing-and-invisible-fees (last visited January 17, 2021).

        75.     In order to make an informed evaluation as to whether a recordkeeper or other

service provider is receiving no more than a reasonable fee for the services provided to a plan, a

prudent fiduciary must identify all fees, including direct compensation and revenue sharing being

paid to the plan’s recordkeeper. To the extent that a plan’s investments pay asset-based revenue

sharing to the recordkeeper, prudent fiduciaries monitor the amount of the payments to ensure that

the recordkeeper’s total compensation from all sources does not exceed reasonable levels, and

require that any revenue sharing payments that exceed a reasonable level be returned to the plan

and its participants.

        76.     In this matter, using revenue sharing or a combination of revenue sharing and a flat

fee to pay for recordkeeping resulted in a worst-case scenario for the Plan’s participants because

it saddled Plan participants with above-market recordkeeping fees.

        77.     Further, a plan’s fiduciaries must remain informed about overall trends in the

marketplace regarding the fees being paid by other plans, as well as the recordkeeping rates that

are available by conducting a Request for Proposal (“RFP”) in a prudent manner to determine if

recordkeeping and administrative expenses appear high in relation to the general marketplace, and
                                                 18
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specifically, of like-situated plans. More specifically, an RFP should happen frequently if fee

benchmarking reveals the recordkeeper’s compensation to exceed levels found in other, similar

plans. George v. Kraft Foods Glob., Inc., 641 F.3d 786, 800 (7th Cir. 2011); Kruger v. Novant

Health, Inc., 131 F. Supp. 3d 470, 479 (M.D.N.C. 2015).

       78.     The fact that the Plan has stayed with the same recordkeeper, namely, Merrill, over

the course of the Class Period, and paid the same relative amount in recordkeeping fees, there is

little to suggest that Defendants conducted a RFP at reasonable intervals – or certainly at any time

prior to 2015 through the present - to determine whether the Plan could obtain better recordkeeping

and administrative fee pricing from other service providers given that the market for recordkeeping

is highly competitive, with many vendors equally capable of providing a high-level service.

       79.     As demonstrated in the chart below, the Plan’s per participant administrative and

recordkeeping fees were astronomical when benchmarked against similar plans.

      Year      Participants     Direct Cost      Indirect Cost9      Total Cost         $PP
      2015         35,919         $1,793,141       $1,263,259         $3,056,400        $85.09
      2016         38,181         $1,890,895       $1,322,137         $3,213,032        $84.15
      2017         40,419         $1,526,587       $1,694,855         $3,221,442        $79.70
      2018         42,116         $1,529,029       $2,267,779         $3,796,808        $90.15
      2019         44,640         $1,559,993       $2,840,127         $4,400,120        $98.57

       80.     By way of comparison, we can look at what other plans are paying for

recordkeeping and administrative costs.



9
  Indirect costs are estimated but are likely conservative. Discovery may reveal additional sources
of revenue sharing which will drive the per participant costs even higher. The indirect costs
reported are derived from the Form 5500s and more specifically any amounts coded as 15, 21, 36,
37, 38 and 50. These codes refer to recordkeeping and administrative costs. Although, the 2019
Auditor Report indicates that some of this amount may have been paid back to the Plan, it’s not
clear exactly how much and how it was applied. 2019 Auditor Report at 7. In addition, it appears
that from 2017 forward, at least, there was a contracted for recordkeeping fee of $45 per participant
however it’s not clear if revenue sharing was used on top of that number to pay for additional
services. However, even if all revenue sharing was paid back to the Plan, $45 per participant is
itself high as will be discussed below.
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         81.     At all times during the Class Period, the Plan had over 35,000 participants making

it eligible for some of the lowest fees on the market.

         82.     Looking at recordkeeping costs for plans of a similar size in 2019 shows that the

Plan was paying higher recordkeeping fees than its peers. The chart below analyzes a few well

managed plans having more than 30,000 participants and approximately $3 billion dollars in assets

under management:

                          Comparable Plans’ R&A Fees Paid in 201910
                                                                            R&A
                                                                 Total     Costs on
                          Number of         Assets Under                                 Record-
       Plan Name                                                 R&A         Per-
                          Participants      Management                                   keeper
                                                                Costs11    Participa
                                                                           nt Basis
     Publicis Benefits
     Connection 401K         48,353        $3,167,524,236      $995,358       $21        Fidelity
           Plan
                                                                                          Great-
 Deseret 401(k) Plan         34,938        $4,264,113,298      $773,763       $22
                                                                                          West
The Dow Chemical
     Company
                             37,868       $10,913,979,302      $932,742       $25        Fidelity
Employees’ Savings
        Plan
  The Savings and
  Investment Plan            35,927        $3,346,932,005      $977,116       $27       Vanguard
   [WPP Group]
 Kaiser Permanente
   Supplemental
                             46,943        $3,793,834,091     $1,526,401      $33       Vanguard
    Savings and
  Retirement Plan
Danaher Corporation
   & Subsidiaries            33,116        $5,228,805,794     $1,124,994      $34        Fidelity
    Savings Plan
 The Rite Aid 401(k)                                                                     Alight
                             31,330        $2,668,142,111      $930,019       $30
        Plan                                                                            Financial



10
 Calculations are based on Form 5500 information filed by the respective plans for fiscal 2019,
which is the most recent year for which many plans’ Form 5500s are currently available.
11
  R&A costs in the chart are derived from Schedule C of the Form 5500s and reflect fees paid to
service providers with a service code of “15” and/or “64,” which signifies recordkeeping fees.
See Instructions for Form 5500 (2019) at pg. 27 (defining each service code), available at https://
                                                20
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Thus, the Plan, with over 44,000 participants and over $6 billion dollars in assets in 2019, should

have been able to negotiate a recordkeeping cost in the low $20 range from the beginning of the

Class Period to the present.

       83.     The Plan’s total recordkeeping costs are clearly unreasonable as some authorities

have recognized that reasonable rates for jumbo plans typically average around $35 per participant,

with costs coming down every day.

       84.     Given the size of the Plan’s assets during the Class Period and total number of

participants, in addition to the general trend towards lower recordkeeping expenses in the

marketplace as a whole, the Plan could have obtained recordkeeping services that were comparable

to or superior to the typical services provided by the Plan’s recordkeeper at a lower cost.

       (3) Many of the Plan’s Funds had Investment Management Fees in Excess of Fees for
           Funds in Similarly-Sized Plans

       85.      Another indication of Defendants’ failure to prudently monitor the Plan’s funds is

that several funds during the Class Period were more expensive than comparable funds found in

similarly sized plans (conservatively, plans having over 1 billion dollars in assets).

       86.     In January 2012, the Department of Labor (“DOL”) issued a final regulation under

Section 408(b)(2) of ERISA which requires a “covered service provider” to provide the responsible

plan fiduciary with certain disclosures concerning fees and services provided to certain of their

ERISA governed plans. This regulation is commonly known as the service provider fee disclosure

rule, often referred to as the “408(b)(2) Regulation.” 12




www.dol.gov/sites/dolgov/files/EBSA/employers-and-advisers/plan-administration-and-
compliance/reporting-and-filing/form-5500/2019-instructions.pdf.
12
  See https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-center/fact-
sheets/final-regulation-service-provider-disclosures-under-408b2.pdf (“DOL 408(b)(2)
Regulation Fact Sheet”)
                                                21
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         87.    The required disclosures must be furnished in advance of a plan fiduciary entering

into or extending a contract or arrangement for covered services. The DOL has said that having

this information will permit a plan fiduciary to make a more informed decision on whether or not

to enter into or extend such contract or arrangement.

         88.    As stated by the DOL: ERISA “requires plan fiduciaries, when selecting and

monitoring service providers and plan investments, to act prudently and solely in the interest of

the plan’s participants and beneficiaries. Responsible plan fiduciaries also must ensure that

arrangements with their service providers are ‘reasonable’ and that only ‘reasonable’

compensation is paid for services. Fundamental to the ability of fiduciaries to discharge these

obligations is obtaining information sufficient to enable them to make informed decisions about

an employee benefit plan’s services, the costs of such services, and the service providers.” DOL

408(b)(2) Regulation Fact Sheet.

         89.    Investment options have a fee for investment management and other services. With

regard to investments like mutual funds, like any other investor, retirement plan participants pay

for these costs via the fund’s expense ratio evidenced by a percentage of assets. For example, an

expense ratio of .75% means that the plan participant will pay $7.50 annually for every $1,000 in

assets. However, the expense ratio also reduces the participant’s return and the compounding

effect of that return. This is why it is prudent for a plan fiduciary to consider the effect that expense

ratios have on investment returns because it is in the best interest of participants to do so.

         90.     “The duty to pay only reasonable fees for plan services and to act solely in the best

interest of participants has been a key tenet of ERISA since its passage.” “Best Practices for Plan

Fiduciaries,” at 36, published by Vanguard, 2019.13




13
     Available at https://institutional.vanguard.com/iam/pdf/FBPBK.pdf?cbdForceDomain=false.
                                                   22
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       91.     For purposes of evaluating expense ratios of an investment, plan fiduciaries should

obtain competitive pricing information (i.e., fees charged by other comparable investment funds

to similarly situated plans). This type of information can be obtained through mutual fund data

services, such as Morningstar, or with the assistance of the plan’s expert consultant. However, for

comparator information to be relevant for fiduciary purposes, it must be consistent with the size

of the plan and its relative bargaining power. Jumbo plans for instance are able to qualify for lower

fees on a per participant basis, and comparators should reflect this fact.

       92.     According to Vanguard, “[b]enchmarking is one of the most widely used

supplements to fee disclosure reports and can help plan sponsors put into context the information

contained in the reports.” “Best Practices for Plan Fiduciaries,” at 37.

       93.     “The use of third-party studies provides a cost-effective way to compare plan fees

with the marketplace. Plan sponsors may elect to engage a consultant to assist in the benchmarking

process. For a fee, consultants can give plan sponsors a third-party perspective on quality and

costs of services. It is important to understand the plan (e.g., plan design, active or passive

investment management, payroll complexities, etc.) as it relates to the benchmarking information

in order to put the results in an appropriate context. By understanding all of the fees and services,

a plan sponsor can make an accurate ‘apples-to-apples’ comparison.” Id.

       94.     Here, the Defendants could not have engaged in a prudent process as it relates to

evaluating investment management fees.

       95.     In some cases, expense ratios for the Plan’s funds were 864% above the ICI Median

(in the case of PIMCO All Asset A) and 282% above the ICI Median (in the case of PIMCO

Income A) in the same category. The high cost of the Plan’s funds is also evident when comparing

the Plan’s funds to the average fees of funds in similarly-sized plans. These excessively high

expense ratios are detailed in the charts below:



                                                   23
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                                        ICI Median Chart
                                               2021
                                                                                       ICI
                 Current Fund                  Exp              Investment Style
                                                                                      Median
                                               Ratio
               PIMCO All Asset A              1.64 %     Balanced Non-target date     0.17%

              Dodge & Cox Income              0.42 %             Domestic Bond        0.39%
                PIMCO Income A                1.49 %             Domestic Bond        0.39%
                  MFS Value A                 0.83 %            Domestic Equity       0.30%

             Artisan Mid Cap Investor         1.18 %            Domestic Equity       0.30%

       Artisan Mid Cap Value Investor         1.22 %            Domestic Equity       0.30%

      Hotchkis &Wiley Small Cap Value
                                              1.05 %            Domestic Equity       0.30%
           Investment Fund Class I

       MFS Emerging Markets Debt A            1.09 %           International Bond     0.60%

       Dodge & Cox International Stock        0.63 %           International Equity   0.50%

     MFS International New Discovery A        1.29 %           International Equity   0.50%

      Morgan Stanley Institutional Fund
                Emerging                      1.05 %           International Equity   0.50%
         Markets Portfolio Class I

     Morgan Stanley Inst Global Real Est
                                              1.00 %                  Other           0.24%
                     I

       96.      The high cost of the Plan’s funds is even more stark when comparing the Plan’s

funds to the average fees of funds in similarly-sized plans:

                                        ICI Average Chart
                                              2021
                                                                                        ICI
                 Current Fund                 Exp         Investment Style
                                                                                      Average
                                              Ratio
               PIMCO All Asset A              1.64 %     Balanced Non-target date     0.28%

              Dodge & Cox Income              0.42 %             Domestic Bond        0.27%
                PIMCO Income A                1.49 %             Domestic Bond        0.27%
                  MFS Value A                 0.83 %            Domestic Equity       0.37%

                                                24
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                                         ICI Average Chart
                                               2021
                                                                                           ICI
                 Current Fund                  Exp         Investment Style
                                                                                         Average
                                               Ratio
             Artisan Mid Cap Investor            1.18 %        Domestic Equity            0.37%

        Artisan Mid Cap Value Investor           1.22 %        Domestic Equity            0.37%

      Hotchkis &Wiley Small Cap Value
                                                 1.05 %        Domestic Equity            0.37%
           Investment Fund Class I

        MFS Emerging Markets Debt A              1.09 %       International Bond          0.60%

       Dodge & Cox International Stock           0.63 %       International Equity        0.45%

     MFS International New Discovery A           1.29 %       International Equity        0.45%

       Morgan Stanley Institutional Fund
                 Emerging                        1.05 %       International Equity        0.45%
          Markets Portfolio Class I
     Morgan Stanley Inst Global Real Est
                                                 1.00 %              Other                0.63%
                     I

       97.      Given the excessive costs of the above funds they should have been replaced during

the Class Period.

       (4) Several of the Plan’s Funds With Substantial Assets Were Not in the Lowest Fee
           Share Class Available to the Plan

       98.      Another fiduciary breach stemming from Defendants’ flawed investment

monitoring system resulted in the failure to identify available lower-cost share classes of many of

the funds in the Plan during the Class Period.

       99.      Many mutual funds offer multiple classes of shares in a single mutual fund that are

targeted at different investors. There is no difference between share classes other than cost—the

funds hold identical investments and have the same manager. Because the institutional share

classes are otherwise identical to the Investor share classes, but with lower fees, a prudent fiduciary

would know immediately that a switch is necessary. Tibble, et al. v. Edison Int. et al., No. 07-

5359, 2017 WL 3523737, at * 13 (C.D. Cal. Aug. 16, 2017).
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       100.    Generally, more expensive share classes are targeted at smaller investors with less

bargaining power, while lower cost shares are targeted at institutional investors with more assets.

Qualifying for lower share classes usually requires only a minimum of a million dollars for

individual funds. However, it is common knowledge that investment minimums are often waived

for jumbo plans like the Plan. See, e.g., Davis et al. v. Washington Univ. et al., 960 F.3d 478, 483

(8th Cir. 2020) (“minimum investment requirements are ‘routinely waived’ for individual

investors in large retirement-savings plans”); Sweda v. Univ. of Pennsylvania, 923 F.3d 320, 329

(3d Cir. 2019) (citing Tibble II, 729 F.3d at 1137 n.24) (confirming that investment minimums are

typically waived for large plans).

       101.    The total assets under management for all of these funds was over 923 million

dollars thus easily qualifying them for lower share classes. The following chart provides detail on

these funds:

                                                                                 Lower
                                                                                            Excess
          Fund in the Plan              ER      Less Expensive Share Class        Cost
                                                                                             Cost
                                                                                  ER
              MEIAX                                 MEIKX
                                      0.83 %                                     0.47 %     76%
            MFS Value A                         MFS Value R6
              ARTMX                                 APHMX
                                  1.18 %                                         0.96 %     22%
      Artisan Mid Cap Investor           Artisan Mid Cap Institutional
                                                    APHQX
             ARTQX
                                  1.22 %    Artisan Mid Cap Value                1.00 %     22%
  Artisan Mid Cap Value Investor
                                                  Institutional
             MRLAX                                  MGREX
  Morgan Stanley Inst Global Real 1.00 % Morgan Stanley Inst Global              0.94 %      6%
               Est I                               Real Est IS
            PONAX                                        PIMIX
                                      1.49 %                                     1.09 %     36%
         PIMCO Income A                             PIMCO Income Instl
                                                        MEDIX
          MEDAX
                                      1.09 %       MFS Emerging Markets          0.84 %     29%
  MFS Emerging Markets Debt A
                                                         Debt I
             MIDAX                                         MIDLX
       MFS International New          1.29 %         MFS International New       0.92%      40%
           Discovery A                                  Discovery R6
            PASAX                                         PAAIX
                                      1.64 %                                     1.19 %     37%
        PIMCO All Asset A                            PIMCO All Asset Instl
                                                26
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       102.    At all times during the Class Period, Defendants knew or should have known of the

existence of identical less expensive share classes and therefore also should have immediately

identified the prudence of transferring the Plan’s funds into these alternative investments.

       103.    There is no good-faith explanation for utilizing high-cost share classes when lower-

cost share classes are available for the exact same investment. Because the more expensive share

classes chosen by Defendants were the same in every respect other than price to their less

expensive counterparts, the more expensive share class funds could not have (1) a potential for

higher return, (2) lower financial risk, (3) more services offered, (4) or greater management

flexibility. In short, the Plan did not receive any additional services or benefits based on its use of

more expensive share classes; the only consequence was higher costs for Plan participants.

       104.    Defendants made investments with higher costs (higher expense ratios) available

to participants while the same investments with lower costs (lower expense ratios) were available

to the detriment of the compounding returns that participants should have received. This reduces

the likelihood that participants achieve their preferred lifestyle in retirement.

       105.    Simply put, a fiduciary to a jumbo defined contribution plan such as the Plan can

use its asset size and negotiating power to invest in the cheapest share class available.

       106.    Indeed, recently a court observed that “[b]ecause the institutional share classes are

otherwise identical to the Investor share classes, but with lower fees, a prudent fiduciary would

know immediately that a switch is necessary. Thus, the ‘manner that is reasonable and appropriate

to the particular investment action, and strategies involved…in this case would mandate a prudent

fiduciary – who indisputably has knowledge of institutional share classes and that such share

classes provide identical investments at lower costs – to switch share classes immediately.” Tibble,

et al. v. Edison Int. et al., No. 07-5359, 2017 WL 3523737, at * 13 (C.D. Cal. Aug. 16, 2017).




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         107.   Here, had the Plan’s fiduciaries prudently undertaken their fiduciary responsibility

for determining the appropriateness of the Plan’s investment offerings and monitoring investment

performance, the Plan would have moved to the identical lower cost share class of the identical

fund. Plan Doc. at 71.

         (5) Several of the Funds in the Plan had Lower Cost Better Performing Alternatives
             in the Same Investment Style

         108.   The Plan failed to replace several of the higher cost and underperforming funds

which in 2019 housed over $1.2 billion dollars in participant assets. These funds had nearly

identical lower cost alternatives during the Class Period. These funds are what’s known as actively

managed funds. As detailed in a well-respected investment journal: “[a]n actively managed

investment fund is a fund in which a manager or a management team makes decisions about how

to invest the fund’s money.”14 Thus, the success or failure of an actively managed fund is linked

directly to the abilities of the managers involved.

         109.   Here, the performance of the managers of these funds fell well short of acceptable

industry standards and they should have been replaced at the beginning of the Class Period or

sooner. Failure to do so cost the Plan and its participants millions of dollars in lost opportunity and

revenue.

         110.   There were, at least, hundreds of superior performing less expensive alternatives

available during the Class Period one of which should have been selected by the Plan.

         111.   The chart below choses one of these superior performing alternatives out of the

hundreds available for each fund and compares them to the underperforming funds currently in the

Plan:




 https://www.thebalance.com/actively-vs-passively-managed-funds-453773 last accessed on
14

November 12, 2020.
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                                         2021                                           Lower
               Current Fund                        Active Lower Cost Alternative
                                          ER                                           Cost ER

                                                            VWNEX
                 MEIAX
                                         0.83 %   Vanguard Windsor Fund Admiral         0.19%
               MFS Value A
                                                             Shares
                RERGX                                        VWILX
       American Funds Europacific        0.46 %    Vanguard International Growth        0.33%
              Growth R6                                        Adm
              DODFX                                          BBIEX
       Dodge & Cox International         0.63 %     Bridge Builder International        0.33%
                Stock                                         Equity

                ARTMX                                         PRJIX
                                         1.18 %                                         0.65%
        Artisan Mid Cap Investor                   T. Rowe Price New Horizons I

                ARTQX                                       DFVEX
                                    1.22 %                                              0.28%
     Artisan Mid Cap Value Investor                   DFA US Vector Equity I

               MRLAX                                        ARYDX
       Morgan Stanley Inst Global        1.00 %    American Century Global Real         0.76%
              Real Est I                                    Estate R6

        112.     Not only are the fees excessive as compared to the similar lower cost alternatives

discussed above but the suggested alternative funds outperformed all of the funds significantly.

The difference between the excessive fees paid for these underperforming funds and the suggested

alternatives represent more lost savings each year for plan participants and have been compounded

over the years. The underperformance of these funds as compared to the suggested alternatives

increases these damages exponentially. The underperformance of these funds is represented in the

chart below:

                                                Lower Cost           Benchmark Relative
        Fund            Benchmark15
                                                Alternative         1Y      3Y        5Y
     MFS Value A
                       iShares Russell
                                                                  -6.92 %     0.71 %     0.00 %
                      1000 Value ETF
                                           Vanguard Windsor

15
  Benchmark funds are chosen from funds that meet two criteria. First, the benchmark must be
similar to the fund in the Plan in that a returns-based correlation between the fund in the Plan and
all other funds in the third party administrator (“TPA”) universe calculated as a standard Pearson
                                                   29
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                                             Lower Cost            Benchmark Relative
       Fund            Benchmark15
                                             Alternative          1Y      3Y        5Y
                                            Fund Admiral
                                               Shares           8.61 %      1.69 %     3.02 %


 American Funds
  Europacific
                                                                9.49 %      1.40 %     2.40 %
  Growth R6
                       iShares MSCI
                       EAFE Growth
                           ETF
                                               Vanguard         20.62 %    10.94 %    11.56 %
                                             International
                                             Growth Adm

  Dodge & Cox
  International
      Stock                                                     7.76 %     -0.99 %     0.08 %
                       iShares MSCI
                        EAFE ETF
                                            Bridge Builder
                                                                4.21 %      2.61 %     1.57 %
                                             International
                                                Equity

 Artisan Mid Cap
     Investor                                                   -2.63 %     6.10 %     2.38 %
                      iShares Russell
                     Mid-Cap Growth
                           ETF
                                           T. Rowe Price        0.21 %      7.26 %     8.29 %
                                           New Horizons I

 Artisan Mid Cap
  Value Investor                                                1.47 %     -1.81 %     -0.58 %
                      iShares Russell
                     Mid-Cap Growth
                           ETF
                                           DFA US Vector        6.99 %      0.30 %     2.51 %
                                             Equity I


product-moment correlation coefficient. Secondly, benchmark funds are compared to the latest
positions reported on filings made to the SEC, when available. Using these positions, a holdings-
based correlation using the funds’ positions and multi-factor risk model based on Arbitrate
Pricing Theory and an advance extension of Modern Portfolio Theory. Quantitative similarity is
determined as the average correlation between returns-based and holdings-based correlations.
401kFiduciaryOptimizer picks only funds that have historical correlation of greater than .90 with
the fund in the plan.
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                                              Lower Cost             Benchmark Relative
       Fund             Benchmark15
                                              Alternative           1Y      3Y        5Y
 Morgan Stanley
 Inst Global Real                                                 4.55 %      -3.79 %     -2.79 %
       Est I          Northern Global
                      Real Estate Index    American Century
                                           Global Real Estate     4.71 %      6.20 %      3.16 %
                                                  R6

       113.     Two of the above funds, in particular, performed drastically worse than most of

their peers. As of the first quarter of 2021, the Morgan Stanley Inst Global Real Est I fund was

worse than 92% of its 198 peers at the three year mark, 99% worse than 188 of its peers at the 5

year mark.

       114.    As detailed in the chart above, the comparator funds in the chart easily

outperformed the funds in the Plan at the 1, 3 and 5 year marks. A prudent fiduciary should have

been aware of these better preforming lower cost alternatives and switched to them at the beginning

of the Class Period. Failure to do so is a clear indication that the Plan lacked any prudent process

whatsoever for monitoring the cost and performance of the funds in the Plan.

                                FIRST CLAIM FOR RELIEF
                           Breaches of Fiduciary Duties of Prudence
                              (Asserted against the Committee)

       115.    Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

Complaint as if fully set forth herein.

       116.    At all relevant times, the Committee and its members during the Class Period

(“Prudence Defendants”) were fiduciaries of the Plan within the meaning of ERISA § 3(21)(A),

29 U.S.C. § 1002(21)(A), in that they exercised discretionary authority or control over the

administration and/or management of the Plan or disposition of the Plan’s assets.

       117.    As fiduciaries of the Plan, these Defendants were subject to the fiduciary duties

imposed by ERISA § 404(a), 29 U.S.C. § 1104(a). These fiduciary duties included managing the

assets of the Plan for the sole and exclusive benefit of the Plan’s participants and beneficiaries,
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and acting with the care, skill, diligence, and prudence under the circumstances that a prudent

person acting in a like capacity and familiar with such matters would use in the conduct of an

enterprise of like character and with like aims.

        118.    The Prudence Defendants breached these fiduciary duties in multiple respects as

discussed throughout this Complaint. They did not make decisions regarding the Plan’s investment

lineup based solely on the merits of each investment and what was in the best interest of the Plan’s

participants. Instead, the Prudence Defendants selected and retained investment options in the Plan

despite the high cost of the funds in relation to other comparable investments. The Prudence

Defendants also failed to investigate the availability of lower-cost share classes of certain mutual

funds in the Plan.

        119.    As a direct and proximate result of the breaches of fiduciary duties alleged herein,

the Plan suffered millions of dollars of losses due to excessive costs and lower net investment

returns. Had Defendants complied with their fiduciary obligations, the Plan would not have

suffered these losses, and the Plan’s participants would have had more money available to them

for their retirement.

        120.    Pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), the Prudence Defendants are

liable to restore to the Plan all losses caused by their breaches of fiduciary duties, and also must

restore any profits resulting from such breaches. In addition, Plaintiffs are entitled to equitable

relief and other appropriate relief for Defendants’ breaches as set forth in their Prayer for Relief.

        121.    The Prudence Defendants knowingly participated in each breach of the other

Defendants, knowing that such acts were a breach, enabled the other Defendants to commit

breaches by failing to lawfully discharge such Defendant’s own duties, and knew of the breaches

by the other Defendants and failed to make any reasonable and timely effort under the

circumstances to remedy the breaches. Accordingly, each Defendant is also liable for the breaches

of its co-fiduciaries under 29 U.S.C. § 1105(a).
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                                   SECOND CLAIM FOR RELIEF
                           Failure to Adequately Monitor Other Fiduciaries
                         (Asserted against KPMG and the Board Defendants)

       122.         Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

Complaint as if fully set forth herein.

       123.         KPMG and the Board (the “Monitoring Defendants”) had the authority to appoint

and remove members of the Committee, and the duty to monitor the Committee and were aware

that the Committee Defendants had critical responsibilities as fiduciaries of the Plan.

       124.         In light of this authority, the Monitoring Defendants had a duty to monitor the

Committee Defendants to ensure that the Committee Defendants were adequately performing their

fiduciary obligations, and to take prompt and effective action to protect the Plan in the event that

the Committee Defendants were not fulfilling those duties.

       125.         The Monitoring Defendants also had a duty to ensure that the Committee

Defendants possessed the needed qualifications and experience to carry out their duties; had

adequate financial resources and information; maintained adequate records of the information on

which they based their decisions and analysis with respect to the Plan’s investments; and reported

regularly to the Monitoring Defendants.

       126.         The Monitoring Defendants breached their fiduciary monitoring duties by, among

other things:

              (a)       Failing to monitor and evaluate the performance of the Committee Defendants

                        or have a system in place for doing so, standing idly by as the Plan suffered

                        significant losses as a result of the Committee Defendants’ imprudent actions

                        and omissions;

              (b)       failing to monitor the processes by which Plan investments were evaluated,

                        their failure to investigate the availability of lower-cost share classes; and



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               (c)       failing to remove Committee members whose performance was inadequate in

                         that they continued to maintain imprudent, excessively costly, and poorly

                         performing investments within the Plan, all to the detriment of the Plan and

                         Plan participants’ retirement savings.

        127.         As a consequence of the foregoing breaches of the duty to monitor, the Plan

suffered millions of dollars of losses. Had the Monitoring Defendants complied with their

fiduciary obligations, the Plan would not have suffered these losses, and Plan participants would

have had more money available to them for their retirement.

        128.         Pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), the Monitoring Defendants are

liable to restore to the Plan all losses caused by their failure to adequately monitor the Committee

Defendants. In addition, Plaintiffs are entitled to equitable relief and other appropriate relief as set

forth in their Prayer for Relief.

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray that judgment be entered against Defendants on all claims

and requests that the Court awards the following relief:

                 A.         A determination that this action may proceed as a class action

        under Rule 23(b)(1), or in the alternative, Rule 23(b)(2) of the Federal Rules of

        Civil Procedure;

                 B.         Designation of Plaintiffs as Class Representatives and designation

        of Plaintiffs’ counsel as Class Counsel;

                 C.         A Declaration that the Defendants, and each of them, have

        breached their fiduciary duties under ERISA;

                 D.         An Order compelling the Defendants to make good to the Plan all

        losses to the Plan resulting from Defendants’ breaches of their fiduciary duties,

        including losses to the Plan resulting from imprudent investment of the Plan’s
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      assets, and to restore to the Plan all profits the Defendants made through use of

      the Plan’s assets, and to restore to the Plan all profits which the participants would

      have made if the Defendants had fulfilled their fiduciary obligations;

            E.       An order requiring the Company Defendants to disgorge all profits

      received from, or in respect of, the Plan, and/or equitable relief pursuant to 29

      U.S.C. § 1132(a)(3) in the form of an accounting for profits, imposition of a

      constructive trust, or a surcharge against the Company Defendant as necessary to

      effectuate said relief, and to prevent the Company Defendant’s unjust enrichment;

            F.       Actual damages in the amount of any losses the Plan suffered, to

      be allocated among the participants’ individual accounts in proportion to the

      accounts’ losses;

            G.       An order enjoining Defendants from any further violations of their

      ERISA fiduciary responsibilities, obligations, and duties;

            H.       Other equitable relief to redress Defendants’ illegal practices and

      to enforce the provisions of ERISA as may be appropriate, including appointment

      of an independent fiduciary or fiduciaries to run the Plan and removal of Plan’s

      fiduciaries deemed to have breached their fiduciary duties;

            I.       An award of pre-judgment interest;

            J.       An award of costs pursuant to 29 U.S.C. § 1132(g);

            K.       An award of attorneys’ fees pursuant to 29 U.S.C. § 1132(g) and

      the common fund doctrine; and

            L.       Such other and further relief as the Court deems equitable and just.



Dated: October 26, 2021                      CAPOZZI ADLER, P.C.

                                             /s/ Mark K. Gyandoh              .
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